JS44 (Rev 02/19)         ?. }37Case 2:20-cv-01339-PBT Document 1 Filed 03/09/20 Page 1 of 9
                                                 CML COVER SHEET              ;). 0       I 33 9                                                                 '{__,V -
The JS 44 CIVIi cover sheet and the i!lfonnatton contained herein n~1ther replace nor supplement the fil_ing and service of p!eadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judic1al Conference of the Umted States in September 1974, 1s reqwred for the use of the Clerk of Court for the
purpose ofinitiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. {a) PLAINllli'FS                                                                                                      DEFENDANTS
            James Henry                                                                                                 Bucks County, PrimeCare Medical, Inc., Christopher A. Pirolli, Paul K.
                                                                                                                        Lagana, John Doe #1-10
        {b)                                                                                                              County of Residence of First Listed Defendant
                                                                                                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                         NOTE. IN LAND CONDEMNATION CASES, CSE THE LOCATION OF
                                                                                                                                 THE TRACT OF LAND INVOLVED

        (C) Attorneys (Firm Name, Address, and Telephone Number)                                                          Attorneys (If Known)

          DeFino Law Associates, P.C. - Benjamin J. Simmons, Esq.
         2541 S. Broad St., Philadelphia, PA 19148 - Ph: (215) 551-9099

II. BASIS OF JURISGON (P/acean "X"111 One Box Only)                                                    m.         CITIZENSHIP OF PRINCIPAL p ARTIES (Place an "X" tn One Box/or Plaintiff
                                                                                                                   (For Diversity Cases Only)                                        and One Box/or Defendant)
    0 I     U S Government              ~           Federal Question                                                                        PTF       DEF                                          PTF      DEF
               Plamttff                     '         (US. Government Not a Party)                            Citizen of This State         D I       D I        Incorporated or Pnnc1pal Place      D 4     D 4
                                                                                                                                                                   of Business In This State

    0 2 U.S. Government                 0 4         Divemty                                                   Citizen of Another State          0 2    D     2   Incorporated and Principal Place        0 5      0 5
           Defendant                                 (l11dicale Citizenshtp of Parties t11 Item Ill)                                                                of Busmess In Another State

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    • II OInsurance                         PERSONAL INJURY             PERSONAL INJURY       D 625 Drug Related SelZlll'C      0 422 Appeal 28 USC 158                               :::J 375 False Claims Act
    D 120Manne                         0 310A1rplane                0 365 Personal Injury -             of Property 21 llSC 881 0 423 Withdrawal                                      :::J 376Qu1Tam(31 L'SC
    0 130 Miller Act                   :::J 315 Airplane Product            Product Liab1hty  :::J 690 Other                              28 USC 157                                          3729(a))
    • 140 Negollable lnstrllment                 Liability          n 367 Health Care/                                                                                                :::J 400 State Reapportiomnent
    0 150 Recovery of Overpayment      0 320 Assault, Libel &               Pharmaceutical                                      ~ROPERlfiY,,Rit;HTS~                                  ::, 410 Antitrust
          & Enforcement of Judgment              Slander                    Personal Injury                                     ::, 820 Copyrights                                    D 430 Ban!cs and Banking
    D 151 Medicare Act                 0 330 Federal Employers'             Product Liability                                        830 Patent   •                                   • 450 Commerce
    n 152 Recovery of Defaulted                  Liab1hty           D 368 Asbestos Personal                                     D 835 Patent• Abbreviated                             :::J 460 Deportation
          Student Loans                0 340Marine                           Injury Product                                              New Drug Apphcatton                          0 470 Racketeer Influenced and
          (Excludes Veterans)          0 345 Marine Product                 Liability                                                $40 Trademark•                                            Corrupt Organizations
    • 153 Recovery of Overpayment                Liability             PERSONAL PROPERTY ~ . ' < B O ~ ~ ~O<i>li\TiiSECHRI'JlY~                                                       n 480 Consumer Credit
          of Veteran's Benefits        0 350 Motor Vehicle                  •
                                                                        370 Other Fraud       D 710 Fair Labor Standards        :::J 861 lilA (1395ft)                                CJ 485 Telephone Consumer
    D 160 Stockholders' Suits          ::, 355 Motor Vehicle        0 371 Truth in Lending              Act                     D 862 Black Lung (923)                                         Protection Act
    0 190 Other Contract                        Product Liability   0 380 Other Personal      D 720 Labor/Management            0 863 DIWC/DIWW (405(g)}                              0 490 Cable/Sat TV
    0 195 Contract Product Liability   0 360 Other Personal                 Property Damage             Relations               CJ 864 SSID Title XVI                                 D 850 Secunt1es/Commodttles/
    D 196 Franchise                             Injury              0 385 Property Damage     0 740 Railway Labor Act           D 865 RSI (405(g) l                                            Exchange
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                                                                                                                                         or Defendant)
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                                                                                                                                                                                      • 895 Freedom of Information
                                                                                                                                                                                               Act
 D 230 Rent Lease & Ejectrnent              442 Employment          D 510 Motions to Vacate                                     D 871 IRS-Third Party                                 :::J 896 Arbitration
 ::, 240 Torts to Land                 D 443 Housmg/                        Sentence               .                                      26USC7609                                   D 899 Adrnimstrative Procedure
 0 245 Tort Product Liability                   Accommodations              •
                                                                        530 General                                                                                                            Act/Review or Appeal of
 D 290 All Other Real Property         0 445 Amer w/D1sab1hties • 0 535 Death Penalty         ~l\1MIGRA-TION~~                                                                                 Agency Decis10n
                                                Employment              Other:                0 462 Naturalization Apphcation                                                         0 950 Constitutionality of
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                                                Cite the U.S. CIVIi Statute under which you are filing (Do not cite j11risdictionlll mitutes 11nless diversity):
                                                42 u.s.c. 1983
    VI. CAUSE OF ACTION                         Brief description of cause:
                                                Deliberate indifference to particular vulnerability to suicide                                                                            _,
    VII. REQUESTED IN                           0    CHECK IF THIS IS A CLASS ACTION                        'f,    DEMANDS                                   CHECK YES onlrdemanded~ complaint:
         COMPLAINT:                                  UNDER RULE 23, F.RCv.P                                       'al   '>C>,000.00                          JVRYDEMANl :     l!( Yes   No               •
    VIII. RELATED CASE(S)
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                                                    (See instructions)
          IF ANY                                                            JUDGE                                                                     DOCKET NUMBER               \.~      -
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    DATE                                                                        SIGNATUREOFATTORNEYOFRECORD~
    03/09/2020
    FOR. OFFICE USE ONLY

        RECEIPT II               AMOUNT                                             APPLYING IFP                                        JUDGE                           MAG J1,DGJ1 AR              - 9 2020
                            Case 2:20-cv-01339-PBT Document 1 Filed 03/09/20 Page 2 of 9

                                                            CNITED STATES DISTRICT COURT
                                                     FOR TilE EASTERN DISTRICT OF PE~'NSYL VANIA

                                                                         DESIGNATION FOR\1
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropnate calendar)

AddressofPlaintiff:              ·? '5'{ \         S. 't>roc:..c,A... S.{            lc.cle( th,""> 'PA ! C i l ~ ~ - -
                                                                                          \-'(...,:
AddressofDefendant:                \t~O                S        E:.C'-\,;.\.9-~ f?c{. "Do 7 f.l's::\c,c,v.-,._ r'6 t ~ 9 o l
Place of Accident, Incident or Transaction:                  I)'-" c.L.. s.     { o""'.,         br    lv     r   re r ~.'o --i..:... ~       Fe,(, {;          L :i,
                                                                                                                                                                I
RELATED CASE, IF ANY:

Case Number: _ _ _ _ _ _ _ _ _ _ _ __                           Judge: _ _ _ _ _ _ _ _ _ _ _ _ __                           Date Terminated: _____

Civil cases are deemed related when Yes is answered to any of the following questions:

1.    Is this case related to property included in an earlier numbered suit pending or within one year                         YesD
      previously terminated action in this court?

2.    Does this case involve the same issue of fact or grow out of the same transact10n as a prior suit                        YesD
      pending or within one year previously terminated action in this court?

3.    Does this case involve the validity or infringement of a patent already in suit or any earlier                           YesO


4.
      numbered case pending or withm one year previously terminated action of this court?

      Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights
      case filed by the same individual?
                                                                                                                               Yes   •
                                                                                                                                                    ~
I certify that, to my knowledge, the within case
this court except as noted above.
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DATE --            s /1        f ';;)..CC-(_)___                    ----~~~                                                               SI    ~ ~ ~ ~---
                                                                        Attorney-at-Law I Pro Se Platnttff                                Attorney ID # (if applicable)


CIVIL: (Place a ✓ in one category only)

A.           Federal Q11estion Cases:                                                      B.     Diversity Jurisdiction Cases:

••     1.
       2.
           Indemnity Contract, Mar.ne Contract, and All Other Contracts
           FELA
                                                                                          •
                                                                                            ••
                                                                                                  1.
                                                                                                  2.
                                                                                                       Insurance Contract and Other Contracts
                                                                                                       Airplane Personal Injury
 ••    3. Jones Act-Personal Injury                                                               3.   Assault, Defamation


                                                                                          ••
       4. Antitrust                                                                               4.   Marine Personal Injury
           Patent                                                                                 5.   Motor Vehicle Personal Injury

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           Labor-Management RelatJ.ons
           Civil Rights
       8. Habeas Corpus
                                                                                          ••
                                                                                           ••
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                                                                                                  7.
                                                                                                  8.
                                                                                                       Other Personal Injury (Please specify)
                                                                                                       Products Liability
                                                                                                       Products Liability - Asbestos
       9. Securities Act(s) Cases                                                                 9.   All other Diversity Cases
B      IO. Social Security Review Cases                                                                (Please specify) ____

•      11. All other Federal Question Cases
           (Please specify)



                                                                            ARBITRATION CERTIFICATION
                                                  (The effect of this certificatton ts to remove the case from eltgzbiltty for arbitration)




             Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best ofmy knowledge and belief; the damages recoverable in this civil action case
            ,exceed the sum of$150,000.00 exclusive of interest and costs:

              Relief other than monetary damages 1s sought.                                                                       NAR -9 2020
        s_._/-'-7_._(_';;J_G_ __
 DA1E _ _                                                                                                                            S    lL()?_r-s-        ______
                                                                         Attorney-at-Law I Pro Se Platntiff                               Attorney ID # (if appltcable)

 NOTE A tnal de novo will be a tnal by Jury only If there has been comphance with FR C P 38

Civ 609 (512018)
             Case 2:20-cv-01339-PBT Document 1 Filed 03/09/20 Page 3 of 9


                                  IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF PE~'NSYLVA..~IA

                           CASE MANAGEMENT TRACK DESIGSATION FORM

                                                                                                     CMLACTION
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In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MA.1'iAGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                                                                ( )

(b) Social Security-Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                                                     ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.                                         ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                                                              ( )

( e) Special Management - Cases that do not. fall into tracks (a) through (d) that are
     commonly referred to as complex and that need special or intense management by
     the court. (See reverse side of this form for a detailed explanation of special
     management cases.)

(f) Standard Management- Cases that do not fall into any one of the other tracks.



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Date                                             Attorney-at-Iaw                               Attorney for
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Telephone                                            FAX Number                                E-Mail Address


(Civ. 660) 10/02
      Case 2:20-cv-01339-PBT Document 1 Filed 03/09/20 Page 4 of 9




                     UNITED STATES COURT FOR THE
                EASTERN DISTRICT OF PENNSYLVANIA
________________________________________________________________________
JAMES HENRY                            :
               Plaintiff,              :
                                       : No.
            v.                         :
                                       :
BUCKS COUNTY; PRIMECARE MEDICAL, : COMPLAINT AND
INC.; CHRISTOPHER A. PIROLLI; PAUL     : JURY DEMAND
K. LAGANA; JOHN DOES 1-10              :
               Defendants.             :
                                       :

                  PLAINTIFF'S COMPLAINT IN CIVIL ACTION

                           PRELIMINARY STATEMENT

       1. This action is brought under 42 U.S.C. §1983 for deprivation of Plaintiff's

right to be free of cruel and unusual punishment under the Eighth Amendment to the U.S.

Constitution under the Fourteenth Amendment to the U.S. Constitution.

                                    JURISDICTION

       2. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §1331.

                                        PARTIES

       3. Plaintiff James Henry is an adult individual who is at time of filing of this

Complaint, and was at all times relevant to this action, an inmate confined at Bucks

County Correctional Facility (“BCCF”).

       4. Defendant Bucks County a municipal governmental entity in the

Commonwealth of Pennsylvania, which manages and oversees BCCF, which is located at

1730 South Easton Road, Doylestown, PA 18901.

       5. Defendant PrimeCare Medical, Inc. (“PrimeCare”), which has a principal

place of business at 3940 Locust Lane, Harrisburg, PA 17109, at all times relevant to this
       Case 2:20-cv-01339-PBT Document 1 Filed 03/09/20 Page 5 of 9




action held a contract with Defendant Bucks County to provide all medical and mental

health services to inmates at BCCF.

       6. Defendant Christopher A. Pirolli was, at all times relevant to this action, the

Director of Corrections for Defendant Bucks County, and was responsible for supervising

BCCF and its agents, servants, and employees, and for enacting and promulgating

policies for the supervision of the inmates therein.

       7. Defendant Paul K. Lagana was, at all times relevant to this action, the Warden

at BCCF, and was responsible for supervising BCCF and its agents, servants, and

employees, and for enacting and promulgating policies for the supervision of the inmates

therein.

       8. Defendants John Doe #1 - 10 were, at all times relevant to this action,

employees of Defendant Bucks County, and were responsible for supervising and

directing the inmates at BCCF, for providing mental health services for the inmates at

BCCF, and for complying with BCCF policies, practices, and procedures regarding

mental health evaluation and treatment.

                              FACTUAL ALLEGATIONS

       9. It is well-recognized by professionals working in the correctional

environment, including all Defendants in this matter, that prisoner populations include

many persons with serious mental illness and specialized mental health needs.

       10. It is additionally well-recognized by professionals working in the correctional

environment, including all Defendants in this matter, that prisoners with mental health

needs are at substantial risk of attempting suicide while incarcerated.
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           11. Professionals working in the correctional environment, including all

Defendants in this matter, are aware of various recognized methods to mitigate the risk of

suicide for a prisoner who presents with significant and acute risk factors, including, but

not limited to, enhanced mental health interventions, such as evaluations by a

psychiatrist, suicide risk assessments, and placement of the prisoner on suicide watch.

           12. On March 1, 2018, Plaintiff was arrested by the Bensalem Township Police

Department, charged with various offenses, and remanded to BCCF.

           13. Plaintiff had previously suffered multiple head traumas and experienced

psychological and mental health issues, for which he had previously been involuntarily

committed for mental health treatment, of which Defendants were or should have been

aware.

           14. Within several days of Plaintiff’s confinement to BCCF, he began

experiencing insomnia and auditory hallucinations, to which he alerted a guard on E

Block, where he was then confined, as well as the Unit Manager.

           15. Plaintiff additionally submitted multiple sick call request slips, alerting the

medical and correctional staff at BCCF that he was experiencing clear signs of mental

illness.

           16. Plaintiff was assured by the correctional staff at BCCF that several emails had

been submitted to the Mental Health Unit, but at no point did he receive a mental health

consultation or psychological evaluation.

           17. On the morning of March 10, 2018 – approximately five days after Plaintiff

began experiencing and complaining of the above symptoms – Plaintiff was found by a

guard on his block using a razor to make severe lacerations on his arms, feet, and neck.
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        18. Plaintiff was transported to Doylestown Hospital, where he required extensive

suturing to close his wounds.

        19. Plaintiff has no independent recollection of inflicting these wounds to himself,

as he had not slept for approximately five days prior to the incident.

        20. One or more of Defendants John Doe #1 - 10 were aware of Plaintiff’s

worsening mental health condition in the days leading up to his suicide attempt, and/or

had been notified by Plaintiff as to his worsening mental health condition, and

disregarded his obvious need for mental health evaluation and treatment.

        21. As a result of the actions and inactions of one or more Defendants, Plaintiff

was caused to sustain severe pain, suffering, and permanent scarring.

                                 CLAIMS FOR RELIEF

                                       COUNT I
             Plaintiff v. Defendants Pirolli, Lagana, and John Does #1-10
                           Federal Constitutional Violations

        22. Plaintiff hereby incorporates all preceding paragraphs as though same were set

forth at length hereafter.

        23. Defendants Pirolli, Lagana, and John Doe #1-10 were deliberately indifferent

to Plaintiff’s particular vulnerability to attempted suicide and thereby violated Plaintiff’s

right to be free from cruel and unusual punishment under the Eighth Amendment to the

United States Constitution and/or his right to due process of law under the Fourteenth

Amendment to the United States Constitution.
       Case 2:20-cv-01339-PBT Document 1 Filed 03/09/20 Page 8 of 9




                                       COUNT II
                 Plaintiff v. Defendants Bucks County and PrimeCare
                            Federal Constitutional Violations

        24. Plaintiff hereby incorporates all preceding paragraphs as though same were set

forth at length hereafter.

        25. The violations of Plaintiff’s constitutional rights under the Eighth and/or

Fourteenth Amendments to the United States Constitution, Plaintiff’s damages, and the

conduct of the individual Defendants were directly and proximately caused by the actions

and/or inactions of Defendants Bucks County and PrimeCare, which have, with

deliberate indifference, failed to establish policies, practices, and procedures and/or have

failed to properly train, supervise, and discipline their employees regarding the protection

of suicidal prisoners and prisoners with mental health needs as outlined above.

                                       COUNT III
                 Plaintiff v. Defendants PrimeCare and John Doe #1-10
                               State Law Negligence Claims

        26. Plaintiff hereby incorporates all preceding paragraphs as though same were set

forth at length hereafter.

        27. Defendants John Doe #1-10 (the “Doe Defendants”) had a duty to comply

with generally accepted medical and mental health standards of care in their treatment of

Plaintiff.

        28. The Doe Defendants violated their duty of care.

        29. The Doe Defendants’ violation of their duty of care to Plaintiff was a direct

and proximate cause and a substantial factor in bringing about Plaintiff’s damages as

outlined above, and the Doe Defendants are therefore liable to the Plaintiff.
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       30. Because the Doe Defendants were acting as agents, servants, and/or

employees of Defendant PrimeCare, and because the Doe Defendants were acting within

the course and scope of their employment, and under the direct control and supervision of

Defendant PrimeCare, Defendant PrimeCare is liable to Plaintiff pursuant to the doctrine

of respondeat superior liability.

                                 PRAYER FOR RELIEF

           Wherefore, Plaintiff respectfully requests:

           A. Compensatory damages as to all Defendants;

           B. Punitive damages as to Defendants PrimeCare and John Doe #1-10;

           C. Reasonable attorneys’ fees and costs; and,

           D. Such other relief as this Court may deem appropriate.

                             DEMAND FOR JURY TRIAL

       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff James

Henry hereby demands a trial by jury in this action of all issues so triable.


                                              Respectfully Submitted,


                                              By:
                                              Benjamin J. Simmons, Esq.
                                              I.D. No. 314855
                                              DEFINO LAW ASSOCIATES, P.C.
                                              2541 S. Broad St.
                                              Philadelphia, PA 19148
                                              Ph: (215) 551-9099
                                              Fax: (215) 551-4099
